Case: 1:18-cv-03318 Document #: 2-1 Filed: 05/09/18 Page 1 of 13 PagelD #:4

STATE OF ILLINOIS ) SUMMONS

) ss

COUNTY OF COOK )
IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS

FOURTH MUNICIPAL DISTRICT

Jhave’1ll Moore Sr.,

Plaintiff,

Vs. No.

eee ee

Village of Maywood, Maywood Police Less than $100,000

)
Officers Diaz, Det #251, Officer Sean)
Barly #320, Officer Shemitraku, )
Sgt. Pezdek, Officer Reilly, )
Officer Adamides, Officer )
)
)
)

AEA Wd C1 Yd¥ OL

>
&

Jarebakowski #313, Officer Cobos,
Police Officers Jane Does and
Police Officers John Does,

\\\

2
“Ty

we

Defendants.

A
7 S
HK

Please serve:

Maywood Police Department
Det #251

125 s. 5% Avenue
Maywood, IL 60153

SUMMONS
To each defendant:

YOU ARE SUMMONED and required:
1. To file your written appearance by yourself or your attorney and pay
the required fee in Room 236 in the Fourth Municipal Courthouse, 1300
roo Drive, Maywood, IL 60153, at or before 9:00 a.m. on
“I2e 1 Se s20i8.
To =le(e answer to the complaint in Room 236 as required by Par.
3c) in the-Notice to Defendant.
IF YOU FAIL TO DO SO, A JUDGMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR
THE RELIEF ASKED IN THE COMPLAINT, A COPY OF WHICH IS HERETO ATTACHED.
To the officer:

This summons must be returned by the officer or other person to whom
it was given for service, with endorsement of service and fees, if any,
immediately after service and not less than 3 days before the day for
appearance. If service cannot be made, this summons shall be returned so
endorsed. This summons may not be served later than 3 days before the day

of appearance.

5
3
A
:
co
Case: 1:18-cv-03318 Document #: 2-1 Filed: 05/09/18 Page 2 of 13 PageID #:5

WITNESS,. . . . . . . . « - -2018

Clerk of Court

Karen M. Mondry Date of service:. ..... ,2018
Attorney for Plaintiff (To be inserted by officer on copy
1300 Maybrook Square left with defendant or other
Maywood, Illinois 60153 person)

(708) 343-6000

#31028

DOROTHY BROWN, CLERK OF THE CIRCUIT COURT OF COOK COUNTY, IL
Case: 1:18-cv-03318 Document #: 2-1 Filed: 05/09/18 Page 3 of 13 PageID #:6

STATE OF ILLINOIS ) SUMMONS
) SS
COUNTY OF COOK )
IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
FOURTH MUNICIPAL DISTRICT

Jhave’1l Moore Sr.,

Sit

Plaintiff,

vs. No.

Village of Maywood, Maywood Police Less than $100,000
Officers Diaz, Det #251, Officer Sean
Barly #320, Officer Shemitraku,

Sgt. Pezdek, Officer Reilly,

Officer Adamides, Officer
Jarebakowski #313, Officer Cobos,
Police Officers Jane Does and

Police Officers John Does,

ceto ANH
AVERLE

“oe
Sl\an¢
Please serve: ! a
Maywood Police Department ) AD V\r

Det #251
125 s. 5*® Avenue
Maywood, IL 60153

~——

Defendants.

SUMMONS
To each defendant:

YOU ARE SUMMONED and required:

1. To file your written appearance by yourself or your attorney and pay

the required fee in Room 236 in the Fourth Municipal Courthouse, 1300

Mee Drive, Maywood, IL 60153, at or before 9:00 a.m. on
Poy\ \ \ 2018.

2. To file ~déur answer to the complaint in Room 236 as required by Par.

3(c) in the Notice to Defendant.

IF YOU FAIL TO DO SO, A JUDGMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR

THE RELIEF ASKED IN THE COMPLAINT, A COPY OF WHICH IS HERETO ATTACHED.

To the officer:

This summons must be returned by the officer or other person to whom
it was given for service, with endorsement of service and fees, if any,
immediately after service and not less than 3 days before the day for
appearance. If service cannot be made, this summons shall be returned so
endorsed. This summons may not be served later than 3 days before the day
of appearance.

ood |
Case: 1:18-cv-03318 Document #: 2-1 Filed: 05/09/18 Page 4 of 13 PagelID #:7

WITNESS,. . . . . - « + + « ,2018

Clerk of Court

Karen M. Monary Date of service:. .... . ,2018
Attorney for Plaintiff (To be inserted by officer on copy
1300 Maybrook Square left with defendant or other
Maywood, Illinois 60153 person)

(708) 343-6000

#31028

DOROTHY BROWN, CLERK OF THE CIRCUIT COURT OF COOK COUNTY, IL
Case: 1:18-cv-03318 Document #: 2-1 Filed: 05/09/18 Page 5 of 13 PageID #:8

Civil Rights Maywood (Moore)
IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
FOURTH MUNICIPAL DISTRICT MUNICIPAL

“Ya 8
Tae he

Jhave’ll Moore Sr.,

Plaintiff,

vs. No.

Village of Maywood, Maywood Police Less than $100,000
Officers Diaz, Det #251, Officer Sean
Early #320, Officer Shemitraku,

Sgt. Pezdek, Officer Reilly,

Officer Adamides, Officer
Jarebakowski #313, Officer Cobos,
Police Officers Jane Does and

Police Officers John Does,

ere ee a

Defendants. }

COMPLAINT AT LAW

Now comes the Plaintiff, Jhave’ll Moore Sr., by his Attorneys,
Mondry & Mondry, Attorneys at Law, and complaining of the defendants,
Village of Maywood, Maywood Police Officer Diaz, Det #251, Officer
Sean Early #320, Officer Shemitraku, Sgt. Pezdek, Officer Reilly,
Officer Adamides, Officer Jarebakowski #313, Officer Cobos, Maywood
Police Officers Jane Does and Maywood Police Officers John Does, states

as follows:
COUNT TI
&
1. The plaintiff, Jhave’1l Moore Sr., at all times relevant
Ow
herein is a resident of the Village of Maywood, County of Cook and State
of Illinois.

2. Upon information and belief, the defendant, Diaz, a Police

Officer for the Maywood Police Department, is a resident of County of
Case: 1:18-cv-03318 Document #: 2-1 Filed: 05/09/18 Page 6 of 13 PageID #:9

Cook and State of Illinois.

3. That on or about April 24, 2017, the plaintiff, Jhave’11 Moore
Sr., was lawfully inside his grandfather’s residence located at 2128
s. 9t® avenue, Maywood, Cook County, Illinois.

4, That at said time and place, Diaz, a Police Officer for the
Village of Maywood Police Department, was acting as a Police Officer
for the Maywood Police Department.

5. The plaintiff, Jhave’1l Moore Sr., while lawfully within the
residence as aforesaid, was ordered and placed on the floor, handcuffed
behind his back and brutally kicked in the mouth and battered about
his body by Officer Diaz, a Police Officer for the Maywood Police
Department.

6. At this time and at all relevant times prior to this
occurrence, the plaintiff did nothing to incite or cause this wrongful
attack by the defendant, Diaz, a Police Officer for the Village of
Maywood.

7. This wrongful attack was willful and malicious.

8. As a result of this wrongful attack and battering, the
plaintiff suffered great anxiety and physical and emotional distress.
Plaintiff incurred substantial expenses for the medical care and
treatment of these injuries.

WHEREFORE, the plaintiff, Jhave’1l Moore Sr., prays for judgment
against the defendant, Diaz, a Police Officer for the Maywood Police
Department, in a sum less than One Hundred Thousand ($100,000.00)
Dollars and his attorney's fees and costs of suit pursuant to the Civil

Code of Procedure, Illinois Revised Statutes, 1982, Chapter 110.
Case: 1:18-cv-03318 Document #: 2-1 Filed: 05/09/18 Page 7 of 13 PagelD #:10

COUNT ITI

1. This count is plaintiff's claim against the defendant, Diaz,
a Police Officer for the Maywood Police Department.

2. This count is brought pursuant to the laws of the United
States Constitution, specifically, Title 42, U.S.C. Sections 1983 and
1988 and the laws of the State of Illinois to redress deprivations of
civil rights of the plaintiff accomplished by the acts of this
defendant committed under the color of law.

3. The defendant, Diaz, a Police Officer for the Maywood Police
Department, is and at all time relevant herein was employed as a police
officer for the Village of Maywood Police Department.

4. Under the rules and regulations of the Village of Maywood
Police Department, its officers are vested with the authority of their
office at all times.

5. At all times relevant herein, the defendant, Diaz, a Police
Officer for the Maywood Police Department, was operating under the
color of law and within the scope of his employment as a police officer
for the Village of Maywood.

6. On April 24, 2017, Diaz, a Police Officer for the Maywood
Police Department, (after placing the plaintiff face down on the floor
and handcuffing him behind his back,) kicked the plaintiff, Jhave’ll
Moore Sr., in his mouth and battered him and thereupon caused this
plaintiff to incur severe and permanent physical injuries. As a
result of the injuries inflicted by this defendant, the plaintiff,
Jhave’11 Moore Sr., was caused to expend substantial monies for medical
care and treatment and will incur extensive expenses for medical care

and treatment in the future.
Case: 1:18-cv-03318 Document #: 2-1 Filed: 05/09/18 Page 8 of 13 PagelD #:11

7. As a result of the attack upon the plaintiff by defendant,
Diaz, a Police Officer for the Maywood Police Department, the plaintiff
suffered the loss of other civil rights guaranteed by the laws of the
Constitution of the United States and of the State of Illinois.

8. The above mentioned kicking and battering of the plaintiff
by the defendant, Diaz, a Police Officer for the Maywood Police
Department, was unprovoked by the plaintiff.

9. This kicking and battering by the defendant, Diaz, a Police
Officer for the Maywood Police Department, was wilful and reckless and
performed with the intent to cause serious injury upon the plaintiff.

WHEREFORE, Plaintiff, Jhave’ll Moore Sr., prays for judgment
against the defendant, Diaz, a Police Officer for the Maywood Police
Department, in his capacity as a police officer in a sum less than One
Hundred Thousand ($100,000.00) Dollars and other damages deemed fit
and proper under the applicable provisions of the United States
Constitution, the State of Illinois Constitution and the applicable
rules of the Illinois Code of Civil Procedure.

COUNT III

1. This count is plaintiff's claim against Officer Diaz, Det
#251, Officer Sean Early #320, Officer Shemitraku, Sgt. Pezdek,
Officer Reilly, Officer Adamides, Officer Jarebakowski #313, Officer
Cobos, Maywood Police Officers Jane Does and Maywood Police Officers
John Does, for false arrest, false imprisonment and malicious
prosecution under the laws of the State of Illinois.

2. That on April 24, 2017, the defendants, Officer Diaz, Det
Case: 1:18-cv-03318 Document #: 2-1 Filed: 05/09/18 Page 9 of 13 PageID #:12

#251, Officer Sean Early #320, Officer Shemitraku, Sgt. Pezdek,
Officer Reilly, Officer Adamides, Officer Jarebakowski #313, Officer

Cobos, Maywood Police Officers Jane Does and Maywood Police Officers
John Does, falsely and maliciously and without any reasonable or
probable cause whatsoever, but with intent to injure plaintiff,
Jhave’ll Moore Sr.'s good name, and to bring him into public scandal
and disgrace, and to cause plaintiff to be deprived of his liberty,
did in the presence of one or more police officers of the Village of
Maywood, charge and accuse plaintiff with committing the offense of

possession of a controlled substance in violation of the Illinois
Revised Statutes.

3. The defendants, Officer Diaz, Det #251, Officer Sean Early
#320, Officer Shemitraku, Sgt. Pezdek, Officer Reilly, Officer
Adamides, Officer Jarebakowski #313, Officer Cobos, Maywood Police
Officers Jane Does and Maywood Police Officers John Does acting as
Maywood Police Officers did thereafter cause the plaintiff to be
wrongfully held and detained in the custody of the Maywood Police
Department. This detention was without merit and against the will of
the plaintiff, Jhave’1l Moore Sr.

4. The defendants, Officer Diaz, Det #251, Officer Sean Early
#320, Officer Shemitraku, Sgt. Pezdek, Officer Reilly, Officer
Adamides, Officer Jarebakowski #313, Officer Cobos, Maywood Police
Officers Jane Does and Maywood Police Officers John Does acting as
Maywood Police Officers did thereafter cause the plaintiff, Jhave’1ll

Moore Sr., to be wrongfully prosecuted for the charges of Resisting
Case: 1:18-cv-03318 Document #: 2-1 Filed: 05/09/18 Page 10 of 13 PageID #:13
Arrest and Harboring a Runaway in the Circuit Court of Cook County.
During this prosecution, these defendants, Officer Diaz, Det #251,
Officer Sean Early #320, Officer Shemitraku, Sgt. Pezdek, Officer
Reilly, Officer Adamides, Officer Jarebakowski #313, Officer Cobos,
Maywood Police Officers Jane Does and Maywood Police Officers John Does
acting as Maywood Police Officers, continued to wrongfully accuse the
plaintiff, render false testimony against him and did otherwise pursue
a wrongful and wilful prosecution against the plaintiff and did thereby
abuse the court procedures in the Circuit Court of Cook County.

5. In their actions which resulted in the false arrest and
malicious prosecution of the plaintiff, Jhave’ll Moore Sr., the
defendants, Officer Diaz, Det #251, Officer Sean Early #320, Officer
Shemitraku, Sgt. Pezdek, Officer Reilly, Officer Adamides, Officer
Jarebakowski #313, Officer Cobos,Maywood Police Officers Jane Does and
Maywood Police Officers John Does acting as Maywood Police Officers,

were aided by other members of the Maywood Police Department.

6. This activity by the Defendants was initiated to obfuscate
and prejudice Plaintiff's claim against these police officers for
their wrongful kicking and battering of the Plaintiff as described in

Count I of this Complaint.

7. This activity by the defendants, Officer Diaz, Det #251,
Officer Sean Early #320, Officer Shemitraku, Sgt. Pezdek, Officer
Reilly, Officer Adamides, Officer Jarebakowski #313, Officer Cobos,

Maywood Police Officers Jane Does and Maywood Police Officers John Does
Case: 1:18-cv-03318 Document #: 2-1 Filed: 05/09/18 Page 11 of 13 PagelD #:14

acting as Maywood Police Officers and other members of the Maywood
Police Department occurred within the expressed or implied rules of
conduct promulgated by the Maywood Police Department.

8. The plaintiff, Jhave’1l Moore Sr., was not guilty of the
charges wrongfully placed against him and prosecuted by these

defendants against him.

9. On or about September 13, 2017, at the Maybrook Courthouse in
courtroom 106, the criminal case against the plaintiff, Jhave’11 Moore
Sr., was set for trial and on that date and time the State dismissed
the criminal cases against him and a motion state nolle proseque was

entered by the sitting Judge of the Circuit Court of Cook County.

10. By reason of the false arrest, false imprisonment and
malicious prosecution performed by the defendants, Officer Diaz, Det
#251, Officer Sean Early #320, Officer Shemitraku, Sgt. Pezdek,
Officer Reilly, Officer Adamides, Officer Jarebakowski #313, Officer
Cobos, Maywood Police Officers Jane Does and Maywood Police Officers
John Does acting as Maywood Police Officers and other members of the
Maywood Police Department and the Village of Maywood, the plaintiff,
Jhave’ll Moore Sr., has been greatly injured. By reason of the
foregoing wrongful acts of these defendants, the plaintiff has
suffered anxiety and pain of body and mind and has been obligated to
pay out and did pay out large sums of money in order to defend himself
from these charges wrongfully placed against him.

WHEREFORE, Plaintiff, Jhave’1l Moore Sr., prays for judgment
Case: 1:18-cv-03318 Document #: 2-1 Filed: 05/09/18 Page 12 of 13 PageID #:15

r

against the Defendants, Officer Diaz, Det #251, Officer Sean Early
#320, Officer Shemitraku, Sgt. Pezdek, Officer Reilly, Officer
Adamides, Officer Jarebakowski #313, Officer Cobos, Maywood Police
Officers Jane Does and Maywood Police Officers John Does acting as
Maywood Police Officers and other members of the Maywood Police
Department and the Village of Maywood and each of them, in a sum less
than ONE HUNDRED THOUSAND ($100,000.00) DOLLARS and his costs of suit
pursuant to Chapter 110 of the Illinois Code of Civil Procedure,

ff

Illinois Revised Statutes, 1982.

KAREN M. MONDRY, esq.
Attorney for Plaintif

MONDRY & MONDRY, ATTORNEYS AT LAW
MONDRY BUILDING

1300 Maybrook Square

Maywood, Illinois 60153

Phone: 708-343-6000

Cook County Attorney No. 31028
Email: karen@mondryandmondrylaw.com
Guictnia Case: 1:18-cv-03318 Document #: 2-1 Filed: 05/09/18 Page 13 of 13 Pagal ooaab? CCM N346

IN THE oe COURT OF COOK COUNTY, ILLINOIS
MUNICIPAL DISTRICT

—e LINE NO.

Pave LOD cace, ao ;
Bors Hoods Oo
(TN) tm" wooo) : :

J Ake s Cokin

a
YN
TRIAL CALL ORDER
Present before the Court: O Plaintiff(s) OQ) Defendant(s) 3H Plaintitt(s) Counsel O) Defendant(s)’ Counsel
THIS MATTER having come before the Court, the Court having jurisdiction and being fully advised,
IT IS HEREBY ORDERED:

4213
4292
4295
4235
4234
4219

Alias Summons to Issue for

Amended Complaint or Petition - Allowed

Close Discovery - Allowed

File Counterclaim or Cross Complaint - Allowed

File Appearance or Jury Demand Answer or PleadAllowed ‘

\ { q
Defendant, \/_\ \ae Ls +. () ha war ey Ch. \ CO eae because Defendant _
ei to File an ee and/or Wf) Failed to File an ‘Answer and the cause is ot for ~

\ a Bite AA Campa. \ invtoom \\ 2

pare a te

4247 4 PROVE-UP on

4406 ‘QO Set for STATUS. All parties must appear ; at a.m./p.m. Room

4482 QO Set for TRIAL on 3 at a.m./p.m. Room

8005 QO Case Dismissed for Want of Prosecution | Mo

8011 QO Case Dismissed by Agreement of Parties/No Cost OQ With O Without Prejudice

8031 UO) Default Judgment for Plaintiff for $ Vv. (Defendant)
Defendant having been defaulted because Defendant O Failed to File an Appearance UO Failed to File an Answer

8001 OQ Judgment for Plaintiff after trial for $ -—~ with costs assessed v. (Defendant)

4293 OQ Assess Costs - Allowed

8002 .Q). Judgment forDefendant i after trial «

9207 QO it being further agreed that installment payments be made as follows:

i)

9208 OQ Order Final and Appealable
( ) QO See Attached Order:
4304 The date of is hereby stricken.

Atty. No.: , “ So ¥
Name: ae Me vy) ont

Attorney for: \ \ ;

. Address: \ x ee V [Y\ \ eal or te
City/State/Zip Code: vr \ Ly mole 120 \ 2 Judge’s No.
Telephone: 7 Q : ake 4 St “a a

DOROTHY BROWN, CLERK OF THE CIRCUIT COURF-OF COOK COUNTY, ILLINOIS
Copy Distribution - White: t. ORIGINAL - COURT FILE»C€anary: 2. Pink: 3. COPY
